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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO


MONICA LOPEZ, KIMBERLY MARTIN,
Individually, and as next friend of
RAY PRICE, AND REGINA CHARLESTON,
Minor children,

       Plaintiffs,
v.                                                        Case No. 1:17-cv-00895
ALLSTATE PROPERTY AND CASUALTY
INSURANCE COMPANY, AND SHELLY SLUGA,

       Defendants.


                                  NOTICE OF REMOVAL

       COMES NOW, Defendant Allstate Property and Casualty Insurance Company and

Shelly Sluga, by and through their undersigned attorneys, Chapman and Priest, P.C.

(Stephen M. Simone and Jessica C. Singer) for Allstate in the defense of the claim for

bad faith, Claim for Violations of the Unfair Claims Practices Act and Insurance Code and

Stiff, Keith & Garcia, LLC, by Ann L. Keith, in the defense of the under-insured motorist

claim, hereby files this Notice of Removal and in support thereof, state as follows:

       1.   Plaintiffs commenced this lawsuit against Allstate by filing their Complaint in

the Second Judicial District, Count of Bernalillo, State of New Mexico, cause No. D-202-

CV-2017-05211.

       2.   Plaintiffs’ lawsuit is a civil action which alleges, inter alia, that Allstate

committed bad faith and violated the New Mexico Insurance Code and the Unfair

Practices Act, all arising out of an underinsured motorist claim, which in and of itself, arose

out of an automobile accident which occurred on July 15, 2014, in Albuquerque, New
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